        Case 1:24-cv-05306-JLR          Document 20       Filed 12/20/24     Page 1 of 1
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                                                             December 20, 2024

Hon. Jennifer L. Rochon
United States District Court
Southern District of New York
500 Pearl St., Courtroom 20B
New York, NY 10007-1312

RE:    JOSEPH VOLFMAN v. SAHARA EAST RESTAURANT CORP. And
       184 FIRST REALTY LLC
       DOCKET NO. 1:24-cv-05306-JLR

Dear Judge Rochon:


       The undersigned represents Joseph Volfman, the plaintiff in the above-referenced matter.
I write jointly with defendants’ counsel to advise the Court that this case has been settled in
principle.
       The parties are currently in the process of finalizing settlement terms and conditions and
we anticipate filing a Stipulation of Dismissal with Prejudice within the next thirty (30) days. As
such, the undersigned respectfully requests that the Court adjourn all deadlines sine die, including
the date for defendants’ to file an answer, and allow the parties thirty (30) days to finalize
settlement.
       Thank you for your time and consideration on this matter.

                                                             Respectfully,




                                                             Andre Autz, Esq.
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